              Case 2:22-cv-01193-RAJ Document 37 Filed 02/08/24 Page 1 of 2




 1                                                     THE HONORABLE RICHARD A. JONES

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 8
                        IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
10
      S.M.F. and A.R.M.,
11
                     Plaintiffs,                  Case No. 2:22-cv-01193-RAJ
12

13           v.                                   NOTICE OF APPEARANCE

14    UNITED STATES OF AMERICA,
15                  Defendant.
16

17          TO: THE CLERK OF THE ABOVE-ENTITLED COURT;
18          AND TO: ALL PARTIES AND THEIR COUNSEL
19
            PLEASE TAKE NOTICE that the undersigned attorney Sean M. Phelan of Frank Freed
20
     Subit & Thomas LLP, hereby enters her appearance as additional counsel for Plaintiff A.R.M.
21
     This Notice of Appearance is effective immediately.
22

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                                                                        FRANK FREED
     NOTICE OF APPEARANCE- 1                                         SUBIT & THOMAS LLP
     2:22-cv.01193-RAJ                                         Suite 1200 Hoge Building, 705 Second Avenue
                                                                      Seattle, Washington 98104-1798
                                                                               (206) 682-6711
             Case 2:22-cv-01193-RAJ Document 37 Filed 02/08/24 Page 2 of 2




 1         Dated this 8th day of February, 2024.

 2

 3
                                                   FRANK FREED SUBIT & THOMAS LLP
 4
                                                   s/Sean Phelan
 5                                                 Sean M. Phelan, WSBA No. 27866
                                                   705 Second Avenue, Suite 1200
 6                                                 Seattle, Washington 98104
                                                   Phone: (206) 682-6711
 7
                                                   Fax: (206) 682-0401
 8                                                 sphelan@frankfreed.com

 9                                                 Attorney for Plaintiff A.R.M.
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                                                                             FRANK FREED
     NOTICE OF APPEARANCE- 2                                              SUBIT & THOMAS LLP
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